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8                                        UNITED STATES DISTRICT COURT

9                                   CENTRAL DISTRICT OF CALIFORNIA

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11     MELVIN GLAPION,                              )   Case No. CV 16-0828 FMO (AJWx)
                                                    )
12                          Plaintiff,              )
                                                    )
13                   v.                             )   ORDER GRANTING REQUEST FOR
                                                    )   DISMISSAL
14     KROLL ASSOCIATES INC.,                       )
                                                    )
15                          Defendant.              )
                                                    )
16

17            The court is in receipt of plaintiff Melvin Glapion’s Request for Dismissal (Dkt. 51), in which

18     plaintiff requests that this action be dismissed in its entirety as to all defendants with prejudice.

19     (See id.). Under Rule 41(a), a plaintiff may voluntarily dismiss an action with or without prejudice

20     by filing a notice of dismissal before the opposing party serves either an answer or a motion for

21     summary judgment. See Fed. R. Civ. P. 41(a)(1)(A)(i) & (B). No answer or motion for summary

22     judgment has been filed. (See, generally, Dkt.). Accordingly, IT IS ORDERED THAT the above-

23     captioned action is dismissed with prejudice.

24     Dated this 24th day of October, 2016.

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26                                                                            /s/
                                                                      Fernando M. Olguin
27                                                                 United States District Judge

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